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                                        UNITEP STATESDISTRIPT COIJRT                                                  FE2 26 2229
                                        W ESTERN DISTRICT OF VIRGIYIA                                             Y
                                                                                                                  W            *.
                                                                       ABIN GDO N

     UNITED STATESUF AMERICX
           V.

     INDIVIOR INC.(a/I@ Rtcki,t                                                               CgseN o,1:19cr00016
     BenckiserPharmaèeuticalsInc.)and
     INolvltm PLc,
         Deféndant:


                                        A G REED FIRST PR OTECTIVE ORDER
                                         -                                                -




            W HEREAS,afederalgrandjufyöfthisDistricthavingrettll-
                 ,
                                                                nedâStpersedsng                   '



     I'
      ndictmentchargingDefendantgwithcônspiracyandengaginginsohemèitodefraud,in
                         '
                 .
                                    '        2'                                          ,                        .
 .

     violationdf18U.S.C.jj 1349,1347,1341atld,1343,andallegingforfèitureofcertai.
                                                                                ,
                                                                                rlp.toceeds
     andassetsgotheUnited.Sfatespursuo tto 1.
                                            8U.S.P.j981(a)(1)(C)and2.
                                                                    8U.S.C-j2461(c),                                  ,



     and 18U.N.C..
                 j982(a)(7);
            ANES'WHEREAS,IileùnitedSt>teghavingmo.
                                                 vedfbraProtectiveOrderpmsuantto21
     U.S.C.j853(e)(1)(A)'
                        and2'
                            8U.S.C.jj13:5'1 d2461@),topreservethestatusqul)@ndpteven,
     Defkndantsand othersfrom aqlienatlngxencumbel-ing,orWas'ting forfeltableproperty;
            NOW TH EREFORE,IT IS THE ORDER ofthisCourtthatDefendants,theiràgentss
     Vervanls, emptoyeesy attorneys, famils/ ntemters, and those'.p.ersons in gctiye concert nr
     participationwiththerp;and thosepersonswhohaveanyinterestorcontroloverany and'
     '
                                                                                  all(lfilw
                                                                             '   .                    '   '
                             .

     assetsofDefendants,bdand arehereby RESTRM NXD,PROHIBITED and ENJOINED from
                                         '                     .
             .

     engagtng in the followihg transact)lonswithoutpriolmapprovalofthisCom4,w hich apprpvalwill
                                                                   .     .




     notbeupfeasonably Nvltllheldx afternottc.
                     ,
                                             etotlj.
                                                  .eUnited Stàtes:
                                                          ,'
                                                          .                          .



            'I'              M er
                                .gers and acqttisitionàof$5 m illion in ca:17o.
                                                      .                       rm ore;
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         0      Settleluentpaymentswith respectto pending litigatfon p-eatertlzan $5 mllllon in

                casla;

                Reduction ofcash and casheqllivalentsbelow $600milliönk
                Any trmlsaction,orsuries oftransaetions,otttside the D efendanti'ordinary'course

                ofbusiness,withacum ulativeamountgreaterthan$5 million wherether:hasb.
                                                                                     een
                nooccurrenceofsuch,transactionintla.
                                                   etwo yearsprior;and
                Obtaining from third partiej any secured debt, loanx note, or other sim ilar

                indebtèdnegs,greaterthan $5lnillion.
         lt'
           is ftlrther ORDERED thatDefendantsjtheirajents,servants,employees,attorneys,
   familymembers,andthosepersonsin éctiveconcertorparticipationwith thèm ;ândthosepersonk
   wlao haveany intetestorcontroloverany m1d &11ofthe assetsofDefendaljts,beand afe hereby

   REQUIRED tô prpvide the following iqnqncialr.
                                               eports,underseal,to the CourtgndtheUnited
   States:

                lndiviorFinance(2014)LLC,IndiviorFinance SARL,lndiviorGlobalHoldihgs
                Ltd (a/k/aRBP GlobalHoldingsLimited);Indiviorlnc.ta/lt/aReckiltBenckiser
                Pharmaceuticâl: 1nc.),Indivior PLC, Indivior Soltttions Inc. (a/k/a Reckitt
                BenckiserPharmacetlticals SolutionsInc.
                                              ..   .  ),atpd lndiviorUS Holdingslnc.(f/lf/a
                RBP USfloldingsInc.)shallbyMûrch2,*2020,forthemunthoflanuary,Ma,
                                                                               tdll
                15,2020,fm'the m onth 4fFebruary,and the 1501day f)f each munth thereafter,

                pl'ovide (a)tnoltthly
                                    . operating repoi'
                                                     tswhich mpol'
                                                                 tnet.disbursements and net
                receipts,(b)bank aecountbalan'
                                             ces,and (c)statementofopçrationsand batahce
                sheetf0l-the preceding m onih;and
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                By thefirstbusilwssday Qfeach month,atz8-werk cash flow forecastthqtshows
                anticipated cûnsblidated cash receiptsand disblu'sem ehtsfUrthe next8 consecutive

                weekson a consolidatqd basis,and Fpecifiçally identifies any transaction requiring

                gpptovalofthisCourtasOXDERED above,ifaqy.

         ltis tkrther ORDERED thatDefendants,their agents,strvants,employees,attolmeys,        .




   familymemberb,andthostpersonsinactivçconcel-torparticipationwith them ;andthosç.persons

  who haveany interest(lrconyrolover'
                                    atly and à11of
                                                 'the assetsofDefendants,beand are hereby

   APTH ORIZED to engage in thefollowing ordinary cotu-setransadiots,asconsistentwithpast

   practicesforthetwo yearsprior,ào long âssuchtransactlonsarenotf4r'thepurposebfpreventing
   assetslkom beingavailableforforfeiture:

                Intercoinpany transactions, including, but not lim ited to, settlem ehts

                iptel'cplpp>ny bAlançesandtmnsadions,incltlding thoserqlated to,butpotlimited
                              .




                to,ptoductinventoty,shared services,loans,tlotes,interest,andtax obligations;

                Paym entsmadeon accountofthatcel4aillCredltAgreemellt,dated asofDecembez
                 19,2014,asamçnded asofM arch l6,2015,andasfurtherqlnqnied asofDecrmber
                 18,2017,itlaccordance with the provisions bf $uch Cm ditA greem entw hen such
                                  .




                paym erïts are due and ow ing;p.rovided however, the D efendants w ill not m ake
                                                                        .




                voluntary prepaym ent;ofprihcipalon aecountoftheCredi
                                                                    .tAgreem ent;
                Paym ents to vendors who provide goods and serviceà tfctually received by the
                                                                .




                Defèndants,including,butnotl'
                                            im ited tosm anufacturing and àupply-chainvendprs,

                gross-to-netyendorsincludilzgM èdicaidand othergovelmmentvendorsjyegtllatol'
                                                                                           y

                and complialice vendors,ongôingl'esearch and developmentrela-tçd'
                                                                                vendors,and.

                séles,generalandadministrativevendors'
                                                     ,
    Case 1:19-cr-00016-JPJ-PMS Document 341 Filed 02/26/20 Page 4 of 4 Pageid#: 2920

*




                          Paylnentofreasonable employee and l
                                                            -elated costs.including,butnotlim ited tos

                          salaryandwages(includingsalesforceincentivecompensation),Lollusesqrsimilar
                                                                           '
                          .

                          contractualam ounts,em ployeerelpted benests,and em ployerrelated payrolltaxes

                          and benelstpayments'
                                             ,and

                          Othei'sim ilar transactions consistentw ith the Defendants' ordinary course past
                      ,   practicesovertl4etw o yearsprior.

                 Itis furtherOR DERED thatDelkndants shall:

                          M aintain,in relation tothislnatter,itscurrentlitigatiqnreserveof$438million,or
                                             .




                          greater,exceptasothel
                                              aviserequiredby law orreg
                                                                      .ulation.lfD efendants'detennine
                                                                                                .




                          tlaatlaw orregulationrequiresthem toreducqtlaereservebelow $438millioà,they
                          shallim mediately notify the Courtand the United States ofthereduction and the

                          reason forthe reduction-
                                                 ,and

                          Il
                           nluediately notify the Courtandthe United Statesupon reachinga decisibn to fsle
                          forbankruptcy,administration,liquidation,receivership.orsim ilaractivity.



                 Euteredthisday or 26* p'ebruary, 2020.

                                                           U nite tates D istr CourtJudge

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         TaîihesW ooley                      $
        .;
         ,onessay
         CounselforDefendants


        R andy am seyer
        AssistantUnited StatesAttorney
